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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

 

UNITED STATES DISTRICT COURT I) ECEIVE
for the ne

 

 

 

 

 

 

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I: Col 28 2021 i
Eastern District of Virginia [=| |
GLERK US SSCP SoURr
Richmond__ Division RICE MIOND. VA
Marsielle Bey ex. Rel Corey M. Lewis 3 -29
) Case No. 21 ev US
) (to be filled in by the Clerk's Office)
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint. soa. viv
Uf the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) yes [I No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
-Ve- )
WILLIAM WALTER SEDR, III
)
)
Defendant(s) )
(Write the full name of each defendant who is being sued. If the )
names of all the defendants cannot fit in the space above, please )

write “see attached” in the space and attach an additional page
with the full list ofnames. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an indjvidual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

 
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I.

The Parties to This Complaint

A.

The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

The Defendant(s)

Marsielle Bey ex. Rel Corey M. Lewis

13080 Gravelbrook Road

South Prince George VA
City State

Prince George

C¥msY POA - VAL

23805
Zip Code

 

Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an ind
include the person’s job or title Gf known) and check whether you are bringing

vidual defendant,
this complaint against

them in their individual capacity or official capacity, or both, Attach additional pages if needed.

Defendant No. I
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

 

 

 

 

 

 

 

 

WILLIAM WALTER SEDR, Ill

d/b/a/ Trooper, Virginia State Police

§20 South Main Street

Emporia VA 23847
City State Zip Code

Greensville

(434) 634-4454

[| Individual capacity Official capacity
City State Zip Code

 

 

 

[| Individual capacity [| Official capacity

 
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Basis for Jurisdiction

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Defendant No. 3
Name

 

Job or Title (if known)

 

Address

City State Zip Code

County
Telephone Number
E-Mail Address (if known)

[| Individual capacity [| Official capacity

Defendant No. 4
Name

 

Job or Title (if k:own)

 

Address

 

 

City State Zip Code
County
Telephone Number
E-Mail Address (if known)

 

[_] Individual capacity [7] Official

  

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A.

Are you bringing suit against (check all that apply):
[| Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)

 
 

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated byj state or local officials?
Bill Of Rights - Amendement IV (Warrant Clause) in that the Respondent was responsible for having a
warrant issued against the Petitioner without probable cause, supported by oath or affirmation.

Bill of Right - Amendment V deprivation of the right not to be held to answer for a otherwise infamous
crime, unless on a presentment or grand jury indictment.

 

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

 
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Statement of Claim

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Section 1983 allows defendants to be found liable only when they have acted “4
statute, ordinance, regulation, custom, or usage, of any State or Territory or the
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defe
of state or local law. If you are suing under Bivens, explain how each defen

federal law. Attach additional pages if needed.
The Defendant was granted authority and doing business as a State Trooper w

 

Code of Virginia in causing to have warrant issued without duly investigating th

| 6 PagelD# 9

under color of any
District of Columbia.”
dant acted under color
t acted under color of

ith the Virginia State

matter, causing the

Police by the Commonweaith of Virginia. The Defendant acted under color of mat C.46.2-894 of the

Plaintiff to answer for otherwise infamous crime without presentment or indict
Defendant willfully deprived or caused to be deprived Constitutionally protected

ent of a grand jury. The
rights.

 

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the

alleged wrongful action, along with the dates and locations of all relevant events. Youn
further details such as the names of other persons involved in the events giving rise to y¢
any cases or statutes. If more than one claim is asserted, number each claim and write a
statement of each claim in a separate paragraph, Attach additional pages if needed.

A.

Where did the events giving rise to your claim(s) occur?

nay wish to include
pur Claims. Do not cite
short and plain

The events giving rise to this claim reportedly occurred in Jarratt, Virginia. The arrest of the Plaintiff

occured on December 21, 2020 in the Petersburg Circuit Court.

What date and approximate time did the events giving rise to your claim(s) occ
The date of events giving rise to this claim is October 27, 2020, as the reported

ur?
offense date. On

Decmber 21, 2020 @ 9:00 A.M., Plaintiff was arrested in the Petersburg Circuit Court for the warrant

issued cr caused to be issued by the Defendant.

What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?

 

Was anyone else involved? Who else saw what happened?)
On Decmber 21, 2020, while making a special appearance in the Petersburg
arrested for a warrant issued in Greensville County, Virginia. The Defendant,

ircuit Court, | was
ILLIAM WALTER

SEDR, ill filed with the Greensville General District Court, as Complainant, Case #GT20012482-00;
GT20012483-00; GT20012484-00 without probable cause, supported'by oath or affirmation of a injured
party. The Defendant's Complaint in Case # GT20012482-00; GT20012483-00; GT200112484-00 filed

on December 21, 2020 was not duly investigated, holds me to answer for a ot
without a presentment or indictment of a grand jury. The Defendant's action re
the liberty of the Plaintiff.

rwise infamous crime
ults in the deprivation of

 
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IV.

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Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical

treatment, if any, you required and did or did not receive.

The injuries sustained relating to alleged events has been the emotional distress which
treated at this time.

is currently not medically

 

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for

the acts alleged. Explain the basis for these claims.

| would like the Court to determine if the Defendant, WILLLIAM WALTER SEDR, III viol

protected rights (Amendment IV and Amendment V Bill of Rights) of the Plaintiff, Marsi
American National.

Violation of Constitutional Provision - Amendment IV $250,000.00
Violation of Constitutional Provision - Amendendment V $250,000.00

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lle Bey, a Moor

 

 
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VI. = Certification and Closing

 

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:

Signature of Plaintiff WH, PR, tee KEY vd

Printed Name of Plaintiff  Marsielle Bey ex. Rel Corey M\| Lewis
\

 

B. For Attorneys \

Date of signing:

Signature of Attorney

 

Printed Name of Attorney
Bar Number

Name of Law Firm
Address

City State Zip Code
Telephone Number
E-mail Address

 

 

 
